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                                    Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 2 of 108 PAGEID #: 880




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 3 of 108 PAGEID #: 881




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 4 of 108 PAGEID #: 882




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 5 of 108 PAGEID #: 883




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 6 of 108 PAGEID #: 884




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 7 of 108 PAGEID #: 885




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 8 of 108 PAGEID #: 886




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 9 of 108 PAGEID #: 887




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 10 of 108 PAGEID #: 888




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 11 of 108 PAGEID #: 889




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 12 of 108 PAGEID #: 890




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 13 of 108 PAGEID #: 891




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 14 of 108 PAGEID #: 892




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 15 of 108 PAGEID #: 893




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 16 of 108 PAGEID #: 894




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 17 of 108 PAGEID #: 895




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 18 of 108 PAGEID #: 896




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 19 of 108 PAGEID #: 897




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 20 of 108 PAGEID #: 898




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 21 of 108 PAGEID #: 899




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 22 of 108 PAGEID #: 900




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 23 of 108 PAGEID #: 901




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 24 of 108 PAGEID #: 902




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 25 of 108 PAGEID #: 903




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 26 of 108 PAGEID #: 904




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 27 of 108 PAGEID #: 905




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 28 of 108 PAGEID #: 906




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 29 of 108 PAGEID #: 907




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 30 of 108 PAGEID #: 908




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 31 of 108 PAGEID #: 909




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 32 of 108 PAGEID #: 910




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 33 of 108 PAGEID #: 911




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 34 of 108 PAGEID #: 912




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 35 of 108 PAGEID #: 913




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 36 of 108 PAGEID #: 914




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 37 of 108 PAGEID #: 915




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 38 of 108 PAGEID #: 916




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 39 of 108 PAGEID #: 917




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 40 of 108 PAGEID #: 918




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 41 of 108 PAGEID #: 919




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 42 of 108 PAGEID #: 920




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 43 of 108 PAGEID #: 921




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 44 of 108 PAGEID #: 922




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 45 of 108 PAGEID #: 923




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 46 of 108 PAGEID #: 924




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 47 of 108 PAGEID #: 925




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 48 of 108 PAGEID #: 926




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 49 of 108 PAGEID #: 927




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 50 of 108 PAGEID #: 928




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 51 of 108 PAGEID #: 929




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 52 of 108 PAGEID #: 930




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 53 of 108 PAGEID #: 931




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 54 of 108 PAGEID #: 932




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 55 of 108 PAGEID #: 933




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 56 of 108 PAGEID #: 934




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 57 of 108 PAGEID #: 935




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 58 of 108 PAGEID #: 936




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 59 of 108 PAGEID #: 937




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 60 of 108 PAGEID #: 938




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 61 of 108 PAGEID #: 939




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 62 of 108 PAGEID #: 940




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 63 of 108 PAGEID #: 941




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 64 of 108 PAGEID #: 942




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 65 of 108 PAGEID #: 943




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 66 of 108 PAGEID #: 944




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 67 of 108 PAGEID #: 945




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 68 of 108 PAGEID #: 946




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 69 of 108 PAGEID #: 947




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 70 of 108 PAGEID #: 948




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 71 of 108 PAGEID #: 949




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 72 of 108 PAGEID #: 950




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 73 of 108 PAGEID #: 951




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 74 of 108 PAGEID #: 952




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 75 of 108 PAGEID #: 953




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 76 of 108 PAGEID #: 954




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 77 of 108 PAGEID #: 955




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 78 of 108 PAGEID #: 956




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 79 of 108 PAGEID #: 957




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 80 of 108 PAGEID #: 958




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 81 of 108 PAGEID #: 959




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 82 of 108 PAGEID #: 960




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 83 of 108 PAGEID #: 961




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 84 of 108 PAGEID #: 962




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 85 of 108 PAGEID #: 963




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 86 of 108 PAGEID #: 964




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 87 of 108 PAGEID #: 965




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 88 of 108 PAGEID #: 966




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 89 of 108 PAGEID #: 967




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 90 of 108 PAGEID #: 968




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 91 of 108 PAGEID #: 969




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 92 of 108 PAGEID #: 970




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 93 of 108 PAGEID #: 971




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 94 of 108 PAGEID #: 972




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 95 of 108 PAGEID #: 973




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 96 of 108 PAGEID #: 974




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 97 of 108 PAGEID #: 975




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 98 of 108 PAGEID #: 976




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 99 of 108 PAGEID #: 977




                               Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 100 of 108 PAGEID #: 978




                                Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 101 of 108 PAGEID #: 979




                                Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 102 of 108 PAGEID #: 980




                                Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 103 of 108 PAGEID #: 981




                                Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 104 of 108 PAGEID #: 982




                                Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 105 of 108 PAGEID #: 983




                                Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 106 of 108 PAGEID #: 984




                                Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 107 of 108 PAGEID #: 985




                                Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
Case: 2:20-cv-03843-MHW-KAJ Doc #: 41-1 Filed: 09/12/20 Page: 108 of 108 PAGEID #: 986




                                Exhibit A, Ohio Gen. Code 4785-138, Senate Bill 2 (88th GA)
